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                  EXHIBIT “B”
                                                                                                   Case 1:25-cv-00414-SEG                             Document 1-2                  Filed 01/30/25                 Page 2 of 2



                                            Please update values where indicated
Schedule of Values


Values should be 100% replacement cost. If you choose not to report replacement cost please explain why.                                                                                                                                                                           VALUES
                                                               Owned /        Occupancy                                               Construction                              Last Year Update
                                                                                                                                                                   Roof Type                                                                                                                                             Business
                                                       Zip      Leased /       (Office,      Employee               # of     Year         (see                                    for Electrical,                   Building Area    Cost per                  Personal                               Equipment
Loc #      Location Address        City      State                                                         Alarm                                     Sprinklered? and Year Last                       Flood Zone                                    Building              Earthquake      Flood                      Interruption inc
                                                      Code     Triple Net     warehouse,      Count                Stories   Built    descriptions                                Plumbing and                         Sq. Ft.      Squre Foot                 Property                               Breakdown
                                                                                                                                                                    Updated                                                                                                                                           Extra Expense
                                                                 Lease         hangar)                                                  below)                                        HVAC



                                                                                                                                       ISO 6 Fire
1.1     215 Piedmont Avenue       Atlanta     GA      30318 Owned           Condominiums                             22      1963       Resistive         Yes          2021             2021               X           128,923      $    250.00   $ 32,230,924 $ 51,000   $ 5,000,000 $ 5,000,000     $ 32,331,924   $       50,000



               TOTALS:                                                                                                                                                                                                                            $ 32,230,924 $ 51,000   $ 5,000,000   $ 5,000,000   $ 32,331,924   $       50,000



        Construction Definitions
                          ISO 1 Frame — exterior walls are wood or other combustible materials. Includes mixed construction, such as brick veneer, stone veneer, wood-iron clad, or stucco on wood.
                          ISO 2 Joisted Masonry — exterior walls are constructed of masonry materials such as adobe, brick, concrete, gypsum block, hollow concrete block, stone, tile, etc. Floors and roof are combustible.
                          ISO 3 Noncombustible — exterior walls and floors and roof are constructed of, and supported by, metal, asbestos, gypsum, or other noncombustible materials.
                          ISO 4 Masonry Noncombustible — exterior walls are constructed of masonry materials as described under the joisted masonry category, but floors and roof are constructed of metal or other noncombustible materials.
                          ISO 5 Modified Fire Resistive — exterior walls and the floors and roof are constructed of masonry or fire resistive materials with a fire resistive rating of one hour, but less than two hours.
                          ISO 6 Fire Resistive — exterior walls and the floors and roof are constructed of masonry or fire resistive materials having a fire resistance rating of not less than two hours.
